                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                           )
                Plaintiff,                         )
                                                   )
              v.                                   )      CASE NO. 3:04CR190-06-MR-DSC
                                                   )      (Financial Litigation Unit)
CLARISSA WHITE,                                    )
a/k/a CLARRISA TROUTMAN,                           )
                  Defendant,                       )
and                                                )
                                                   )
ACCEL MARKETING, LLC,                              )
                                                   )
                     Garnishee.                    )

                        DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment as to Accel Marketing, LLC, filed in this case on

March 31, 2010, against the defendant Clarissa White, a/k/a Clarrisa Troutman is DISMISSED.

       SO ORDERED.                             Signed: July 22, 2010




   Case 3:04-cr-00190-RJC-SCR           Document 179        Filed 07/22/10     Page 1 of 1
